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                                                                                            July 28, 2022

BY ECF
Hon. Colleen McMahon
United States District Judge
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007

        Re:     In Re: New York City Policing During Summer 2020 Demonstrations,
                20-cv-8924 (CM)(GWG)
                This filing is related to: Hernandez, et al. v. City of New York, et al.,
                21-cv-7406 (CM)(GWG)

Your Honor:

       I am co-counsel for Plaintiffs in Hernandez, et al. v. City of New York, et al., which has been
consolidated with In Re: New York City Policing During Summer 2020 Demonstrations, 20-cv-8924
(CM)(GWG) (the “Consolidated Action”) for discovery purposes.

        On July 20, 2022 the Hernandez plaintiffs a Rule 68 offer from Defendants for the total sum
of $10,001.00 for plaintiff Krystin Hernandez, $2,501 for plaintiff Natalie Baker, $4,501 for plaintiff
Ethan Chiel, $2,501 for plaintiff Kyla Raskin, $3,501 for plaintiff Rex Santus, $3,501 for plaintiff
Roxanne Zech, $3,501 for plaintiff Rafael-Lev Gilbert, $3,501 for plaintiff Sarah Mills-Dirlam,
$3,501 for plaintiff August Leinbach, $4,501 for plaintiff Jalen Matney, $3,501 for plaintiff Jonathan
Davis, and $4,001 for plaintiff David Holton, plus reasonable attorneys’ fees, expenses, and costs to
the date of the offer – July 7, 2022 – for Plaintiffs’ federal claims. See Dkt No. 30.

        On July 26, 2022, the Court entered judgment pursuant to Rule 68. See Dkt No. 32.

        The deadline by which Plaintiffs must make an application to the Court to fix reasonable
attorneys’ fees, expenses and costs will run on August 4, 2022.

        Plaintiff now asks that the Court extend that deadline for a period of two months
so that the parties can attempt to resolve the claim for attorneys’ fees, expenses, and costs without
the need for a formal application to the Court. Defendants consent to this
application.

        Plaintiffs thank Your Honor for the Court’s attention to this matter.
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                                Respectfully submitted,

                                       /S/
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                                Elena L. Cohen




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